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                             U.S. DISTRICT COURT FOR THE
                             DISTRICT OF MASSACHUSETTS

                                                  )
NAGOG REAL ESTATE CONSULTING                      )
CORPORATION ,                                     )
                                                  )
                      Plaintiffs,                 )              CIVIL ACTION NO.:
                                                  )                 2019-11714
v.                                                )
                                                  )
NAUTILUS INSURANCE COMPANY,                       )
                                                  )
                      Defendant.                  )
                                                  )

                  DEFENDANT NAUTILUS INSURANCE COMPANY’S
                       MOTION FOR SUMMARY JUDGMENT

       Now comes the Defendant Nautilus Insurance Company (hereinafter “Nautilus”),

and moves pursuant to Fed. R. Civ. P. 56 and Local Rule 7.2(b) for a declaration that it

has no obligation to provide a defense to or otherwise afford coverage for underlying

claims against its policyholder in light of the “employee” exclusion contained in its policy.

In support of this motion, defendant states that there is no genuine dispute as to any

facts material to its entitlement to this requested relief. In support of this Motion, Plaintiff

relies on the attached Memorandum of Law as well as its separate Statement of

Undisputed Material Facts and supporting exhibits which are attached hereto.

                            REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(D), Defendant hereby requests a hearing on the

present motion.
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                                     Respectfully submitted,
                                     The defendant,
                                     Nautilus Insurance Company,
                                     By its attorneys,


                                     /s/ Michael F. Aylward

                                     Michael F. Aylward, BBO # 024850
                                     MORRISON MAHONEY LLP
                                     250 Summer Street
                                     Boston, MA 02210-1181
                                     (617) 439-7500




                                   CERTIFICATION

       Pursuant to Local Rule 7.1(A)(2) I hereby certify that I have conferred with
Attorneys Roderick Ames and Patricia Gary in a good faith but unsuccessful effort to
resolve or narrow the issues presented in this Motion.

                                     /s/ Michael F. Aylward

                                     Michael F. Aylward




                             CERTIFICATE OF SERVICE

       I hereby certify that this document has been electronically filed, and served upon
all counsel of record in compliance with the Fed. R. Civ. P. this 18th day of December,
2019.

                                     /s/ Michael F. Aylward

                                     Michael F. Aylward




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